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                                        EMPLOYMENT LAWYERS
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                                    6   AUSTEN SHWIYHAT
                                    7
                                                                    UNITED STATES DISTRICT COURT
                                    8
                                               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                                    9
                                   10
                                          AUSTEN SHWIYHAT, on behalf of                 Case No. 23-CV-00283-JSC
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                                   11     himself and the State of California as a
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                                          private attorney general,                     PLAINTIFF AUSTEN SHWIYHAT’S
     Oakland, CA 94612




                                   12                                                   REPLY MEMORANDUM IN SUPPORT
       (415) 362-1111




                                                                  Plaintiff,            OF MOTION FOR LEAVE TO AMEND
                                   13
                                                         vs.                            COMPLAINT
                                   14
                                          MARTIN MARIETTA MATERIALS,                    [File concurrently with Supplemental
                                   15     INC., a North Carolina Corporation; and       Declaration of Leonard Emma]
                                   16     DOES 1 through 100, inclusive,
                                                                                        Date: October 5, 2023
                                   17                             Defendants.           Time: 10:00 a.m.
                                   18                                                   Ctrm.: 8

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                                                                Austen Shwiyhat v. Martin Marietta Materials, Inc.
                                                     Plaintiff’s Reply in Support of Motion for Leave to Amend Complaint
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                                    1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                    2   I.       INTRODUCTION

                                    3            Plaintiff filed the instant Motion for Leave to Amend when it became apparent that MMM

                                    4   had no intention of adhering to the remand process outlined by the Court at the June 1, 2023,

                                    5   CMC. As discussed in Plaintiff’s concurrently filed Reply Memorandum in Support of Plaintiff’s

                                    6   Motion to Remand, MMM co-opted the remand process and now seeks to adjudicate issues that

                                    7   are not pertinent to federal question jurisdiction. Had MMM not overreached in this fashion,

                                    8   Plaintiff would not have filed his Motion to Remand or the instant Motion.

                                    9            Plaintiff respectfully requests that this Court grant his concurrently filed Motion to

                                   10   Remand on the operative pleadings. However, in the event the Court requires clarification within
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                                   11   Plaintiff’s Complaint prior to remanding the case, Plaintiff filed the instant Motion for Leave to
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                                        Amend Complaint to facilitate remand. Plaintiff’s proposed First Amended Complaint (“FAC”)
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                                   13   clarifies the group of aggrieved employees on whose behalf Plaintiff brings this PAGA case,

                                   14   thereby eliminating any potential lingering concerns regarding federal question jurisdiction.

                                   15   II.      STATEMENT OF RELEVANT FACTS

                                   16            The Parties have already recited the relevant facts, so Plaintiff will not rehash them here.

                                   17   However, Plaintiff wishes to clarify the extent of written discovery conducted. During the Parties’

                                   18   meet and confer efforts following the June 1, 2023, Case Management Conference, it became

                                   19   apparent to Plaintiff that MMM would be attempting to summarily adjudicate the claims of an

                                   20   unknown number of individual employees. (Supplemental Declaration of Leonard Emma in

                                   21   Support of Plaintiff’s Reply (“Supp. Emma Dec.”) ¶ 4.) Accordingly, Plaintiff informally

                                   22   requested that MMM provide a list of the affected employees and their job descriptions, among

                                   23   other things. MMM did not agree to provide the requested information at that time. (Id.)

                                   24   Therefore, on July 14, 2023, Plaintiff propounded a very limited set of formal written discovery

                                   25   (2 interrogatories and 2 document requests) designed to obtain this information. (Id.) On August

                                   26   4, 2023, MMM filed its Motion for Partial Summary Judgment, and Plaintiff filed his Motion to

                                   27   Remand and the instant Motion. (Id. at ¶ 5.) It was not until August 11, 2023, that MMM objected

                                   28   and responded to Plaintiff’s formal written discovery requests. MMM responded to Interrogatory
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                                    1   1, in part, as follows:

                                    2
                                                On June 1, 2023, the Court held a Case Management Conference and determined
                                    3           that subject matter jurisdiction supported removal. The Court then entered a Minute
                                                Entry with a limited scheduling order setting two deadlines: (1) deadline to stipulate
                                    4           to preempted claims, and (2) deadline for motion for summary judgment if
                                                Defendant believes additional claims are preempted. The Order did not open
                                    5           discovery; rather, the Order focused the parties on resolving preempted claims.
                                                (Id. at ¶ 5.)
                                    6
                                    7   III.    ARGUMENT

                                    8           A.      Leave to Amend Should Be Liberally Granted

                                    9           Federal Rule of Civil Procedure, Rule 15(a)(2) provides that the court has discretion to

                                   10   grant leave to amend and that, furthermore, “[t]he court should freely give leave [to amend a
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                                   11   complaint] when justice so requires.” See Swanson v. U.S. Forest Serv., 87 F.3d 339, 343 (9th
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                                        Cir. 1996); Jordan v. County of Los Angeles, 669 F.2d 1311, 1324 (9th Cir. 1982), vacated on
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                                   13   other grounds, 459 U.S. 810 (1982). Pursuant to Rule 15, courts should exercise their discretion

                                   14   to “facilitate [a] decision on the merits, rather than on the pleadings or technicalities.” U.S. v.

                                   15   Webb, 655 F.2d 977, 979 (9th Cir. 1981). Furthermore, courts interpret Rule 15’s language for

                                   16   granting amendments with “extreme liberality.” Id. The court should draw all inferences in favor

                                   17   of granting this motion, and the opposing party bears the burden of establishing why the

                                   18   amendment should not be granted. Carlson v. Anka Behavioral Health, Inc., 2012 WL 2196337,

                                   19   at *2 (N.D. Cal. June 14, 2012).

                                   20           B.      The Motion for Leave to Amend was Brought to Facilitate Remand

                                   21           Plaintiff does not believe that the proposed FAC is required to remand the case for the

                                   22   reasons set forth in Plaintiff’s Motion to Remand. Nonetheless, Plaintiff filed the instant Motion

                                   23   for Leave to Amend and proposed FAC to address Defendant’s contention that the PAGA

                                   24   allegations in Plaintiff’s Original Complaint include preempted claims of absent aggrieved

                                   25   employees. As discussed in Plaintiff’s Motion for Leave to Amend, the proposed FAC clarifies

                                   26   the group of aggrieved employees on whose behalf Plaintiff is proceeding such that federal

                                   27   preemption cannot be even theoretically possible.

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                                    1          C.      Defendant has Not Suffered Any Prejudice

                                    2          To defeat a motion for leave to amend, the opposing party must show substantial prejudice.

                                    3   Morongo Band of Mission Indians v. Rose, 893 F.3d 1074, 1079 (9th Cir. 1990). At best,

                                    4   Defendant claims artificial prejudice. Indeed, it is mind-boggling that MMM now claims

                                    5   prejudice when Plaintiff’s proposed FAC seeks to eliminate the very same issues of federal

                                    6   preemption that MMM seeks to summarily adjudicate. MMM’s claim of prejudice in this regard

                                    7   appears to hinge on the fact that Plaintiff waited to file his Motion for Leave to Amend until after

                                    8   the Parties’ efforts to stipulate were exhausted. However, Plaintiff’s Motion for Leave to Amend

                                    9   was not even contemplated until after it became apparent that Defendant was overreaching in its

                                   10   efforts to summarily adjudicate claims that have nothing to do with federal question jurisdiction.
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                                   11   Defendant seems to posit that Plaintiff should have (1) foreseen Defendant’s conduct and (2) filed
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                                        a Motion for Leave to Amend prior to attempting to agree via stipulation. Quite simply, this does
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                                   13   not make sense, and certainly doesn’t amount to prejudice.

                                   14          Defendant further claims prejudice because Plaintiff issued targeted discovery to

                                   15   determine whether Defendant’s unsupported assertion that the claims of approximately 490

                                   16   unrepresented employees were preempted.         Written discovery was only necessary because

                                   17   Defendant refused to provide any information to Plaintiff informally regarding these employees.

                                   18   In addition, Plaintiff took the deposition of Defendant’s persons most knowledgeable because the

                                   19   “evidence” presented by Defendant in support of its Motion for Partial Summary Judgment was

                                   20   conclusory and not based on personal knowledge. Regardless, a party does not waive the right to

                                   21   assert that subject matter jurisdiction is lacking by failing to raise it earlier in the

                                   22   proceedings. Insurance Corp. of Ireland, Ltd. v. Compagnie Des Bauxites De Guinee, 456 U.S.

                                   23   694, 702 (1982).

                                   24          D.      The Motion for Leave to Amend is Not Futile

                                   25          MMM again argues without providing any legal authority for its position. This time,

                                   26   MMM alleges that Plaintiff’s Motion for Leave to Amend would be futile because MMM believes

                                   27   that it does not eliminate all preempted claims. This, however, is not the standard for determining

                                   28   futility. In assessing futility, the opposing party must establish that the proposed amendment
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                                    1   “does not plead enough to make out a plausible claim for relief.” HSBC Realty Credit Corp.

                                    2   (USA) v. O’Neill, 745 F.3d 564, 578 (1st Cir. 2014). MMM has not even attempted to argue that

                                    3   this is the case. Accordingly, MMM’s futility argument must be dismissed.

                                    4          E.      The Motion for Leave to Amend is Not Dilatory

                                    5          MMM also argues that Plaintiff’s Motion for Leave to Amend is somehow dilatory. This

                                    6   argument strains credulity. MMM knows full well that the Parties met and conferred extensively

                                    7   in an attempt to come to an agreement on the claims that MMM alleges are preempted. Plaintiff

                                    8   only brought his Motion for Leave to Amend after it became clear that MMM was overreaching.

                                    9   Accordingly, the Court should disregard MMM’s argument that Plaintiff was dilatory in seeking

                                   10   leave to amend.
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                                   11   IV.    CONCLUSION
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                                               Plaintiff respectfully requests that this Court grant Plaintiff’s concurrently filed Motion to
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                                   13   Remand on the operative pleadings. However, in the event the Court requires an amended

                                   14   pleading prior to remanding the case, Plaintiff respectfully requests that the Court grant the instant

                                   15   Motion for Leave to Amend Complaint to facilitate remand.

                                   16
                                                                                       Respectfully submitted,
                                   17
                                   18   Dated: September 21, 2023                      EMPLOYMENT LAWYERS
                                   19
                                   20                                                  /s/ Leonard Emma
                                                                                       ______________________________________
                                   21                                                  Leonard Emma, Esq.
                                                                                       Attorneys for Plaintiff
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